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FILED

David Steven Braun

PO Box 563 NOV 07 2018

Gallatin Gateway, MT 59730 Clerk, U.S. Courts
District Of Montana

406-404-2027 . Billings Division
Dsb522@4securemail.com

In The United States District Court
For The District Of Montana
Butte Division

David Steven Braun

Plaintiff,

VS Civil Action No:
Cy-1B-10-BuU-smm- ICL

Bank of America N.A.

Defendant

Jurisdiction

1. This Court has jurisdiction over this action pursuant to
28 U.S.C & 1332(a)(1)

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Venue

2. Venue is appropriate in the District under 28 U.S. & 1391(2). It is in the
District off residents off the Plaintiff and is where a substantial part of the
events took place that give rise to this action.

Parties

3. David Steven Braun is a citizen of the United States and Resides in Gallatin
County Montana. My physical residence is at 155 Aurora Light Dr B10, in Big
Sky Montana. Bank of America is Headquartered in Charlotte, North Carolina.

Summary of Case

a. The Plaintiff was a Bank Of America Credit Card Customer since the mid
90’s.

b. The credit card was plagued with large amount of Fraud, 1.E charges
appearing on the statements from merchants in say Florida when the
Plaintiff was living in Montana and Nevada.

c. Their were also two events one in Las Vegas around 2011 where shortly
after the incident the Plaintiff was hospitalize under questionable
circumstances, vomiting, slurred speech, unable to stand. He has not
worked since.

d. In addition the Plaintiff believes that the real time charges were routinely
looked at internally buy bank employee’s and provided to people out side
the bank in an illegal and improper manner.

e. Towards the end off the credit card, the company contacted the defendant
approximately 24 times in a 2 4% month period. This occurred at the same
time as at least two other credit card companies called the Defendant at
the same or greater frequency.

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. The Plaintiff notified a legal address at the end of 2013 Exhibit 1, stating
that their was an issue and could potentially expect a law suite. The letter,
Exhibit 1, clearly stated that | thought the claim against the bank far
exceeded the outstanding balance on the card. The company became un-
responsive. At no time did they deny any off the accusations.

. Approximately a year and a half later the Bank served the plaintiff with a
collection law suite in the local district court. At no time did they respond
to the accusations or were able to show that they had attempted to
contact me before proceeding in court on the collection matter.

. During the suit they did not deny that they did not attempt to contact the
Plaintiff before proceeding against a Pro Se party in District Court on what
the court was lead to believe was a simple collection matter.

During the Case, | responded that | had a counter claim. The counterclaim
was asserted, and it was improperly dismissed due to incorrect Ex Parte
communication.

After that the Bank was served a Request for Production, and even while in
court they still refused to produce the majority off the records to the
account. They also refused to allow the collection suite to be dismissed.

. When they refused to produce the records, the Bank assumed the liability
even if the issues were not the direct fault off the Banks employees.

The collection suite ended in a working Judgment in a District Court due to
the opposing counsels negligence which | had to satisfy at great personal
hardship to my family. This further created stress on my life, and
prolonged the counterclaim and put the Banks Collections claim ahead off a
Pro Se personal injury claim which they caused.

| am aware off at least three law firms the Bank has retained at different
times to deal with this issue. It has taken over two to three years just to
get this corrected, much less to compensate me for the Damage to my
health and life.

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1. The plaintiff was a victim off illegal wire tapping and electronic surveillance.
To show proof and background, see 1:14-cv-01286-JEB in DC Federal, and
2:13-cv-00036-DWM in Butte. In this case, | was told twice to affect proper
service twice or do 30 days contempt.

2. These electronic surveillance problems extended into cards. The Defendant
was sent a letter dated 12-18-2013 Exhibit 1, stating some off the problems
and specifying that | believed their was a large civil liability, far greater that the
out standing balances on the card, and that in the future they might expect a
law suite. This copy was returned to the Plaintiff in response to a request for
production in the collection case in Bozeman District Court. The letter went
un-responded to.

3. Apparently, the Plaintiff fails some kind of high level background check that is
required to be run buy the defendant before settling a law suite. Without
ever speaking to me, the defendant contacted the chambers of the State
District Judge and lead him to believe that their was some kind off issue that
would fall under a rule 12(d) situation. This caused the district court to dismiss
the counter claim. It is my understanding that due to this background check
failing, the Defendant was unable to respond to the letter. |.£E. They never
stated they didn’t feel that their was a claim, but was unable to legally offer
me any kind off private settlement due to this background check failing.

4. In Late Aug early Sept of 2015, Approximately a year and half after the
company was notified with exhibit A and had not responded, their was a nock
on my door in Big Sky Montana handing me a summons to a collection case in
Gallatin Valley District.

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5. In response to the claim, | filled Exhibit 2 with the court, a counter claim.

6. It is my understanding that the Plaintiff ran a high level civil background check
through, and filled the very strange motion to dismiss that are Exhibits 3 and 4.

7. | did oppose the motion to dismiss with Exhibit 5. But was un aware off the
statement or about this background check failure.

8. Without any hearing or any communication from either the venue or apposing
counsel, the court dismissed the Counter Claim see the order in Exhibit 6.

9. Itis my understanding, that without ever speaking to me, or even mentioning
that they had run this Civil Background Check, the Plaintiff notified chambers
Ex Parte, that the district court had no authority to render a Judgement or
settlement for this Particular Plaintiff. it is my understanding that this is
usually due to a prior contractual event with the US Federal Government. No
such contract exist for the Plaintiff. | filled Exhibit 10, asking for a record off
exactly what said in the Ex Parte statement, it went un-responded to.

10. A motion dated 12-17-2015 Exhibit 7 which requested an investigation into
criminal behavior on the part off the Plaintiff went un-responded to.

11. The 12-17-2015 motion generated a police contact on 12-25, which was
reported to the court in Exhibit 8. The local sheriff still will not produce the
detailed statement from the B of A Employee that caused the contact.

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12. A2/5/2016 motion to establish fact’s, Exhibit 9 went un-responded to.

13. The Plaintiff served apposing counsel with a request for production dated
6/20/2016. It is Exhibit 11.

14. The Bank responded with Exhibit 12. Of the 9 Points requested, the Bank felt
that 2 did not exist, I.E their was not any authorized court ordered access, or
any authorized down stream access buy Federal Law Enforcement or
Intelligence. The other 7 requests for records were not voluntarily complied
with. They did provided a partial call log, which showed approximately 24
contacts in a 2 % month period.

15. In September of 2017, the plaintiff filled his first law suite against the Bank
in Butte Federal. In the complaint, it was clearly stated that the Plaintiff is
unaware of any reason why he should be failing this civil background check.
It is my understanding that this is generally associated with clauses in senior
military service contracts. The Plaintiff has never served in the military.

16. In this situation, it is my understanding that the proceedings would
proceeded along rule 12d. Rather than, or in addition to filling a motion to
dismiss, the Bank had the right to request a summary judgment under rule
12d if they had something ancillary to present, like an actual military service
contract or service record. As stated in the complaint, nothing tangible was
presented, and their was no request for a summary Judgement.

17. Now up until this point, it may halve been impossible to discuss any kind off

private settlement until the issues was brought before some kind judge. You
might say that this violated the Banks Rights to a normal civil process. When

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the court granted the Bank’s motion to dismiss, their was no statement of
Final Judgment or Final Order in the oppion. If allowed to proceeded straight
to trial, and a Judgement was entered, this could be an instant issue on
appeal.

18. Since the Butte case, the Plaintiff sent the included request for settlement to
the General Counsels office at Scharlet North Carolina. Exhibit 23. For the first
time, based on this letter, | did receive the included response from the Bank.
Exhibit 24, with a couple off weeks. While they stated they halve no interest
in settling and were very rude, for the first time, | did receive a response from
a letter addressed to their general counsels office while not in court. Up until
this point they halve just been un-responsive.

19. The Bank was still unwilling to discuss privately their responsibility to
compensate the plaintiff for their criminal actions. Their for | am filling this
suite. Unfortunately this matter requires it’s day in court.

20. As far as November 2018, Exhibit 22, even though | had paid the Judgment in
Feb 2016, Exhibit 25, and it was actually recorded with the clerk on
3/29/2017, Exhibit 26 the Bank of America credit card is still being shown as
under collection on my credit report. 1 was denied several very favorable car
loans due to this entry. Several Lending institutions brought this to my
attention while on the phone shopping for a favorable auto refinance loan.
They then subsequently did not make a loan offer.

21. To this date, the defendant has retained | believe up to three different law
firms. They halve generated thousands of pages off legal documents in
several court houses, they insisted on entering a 36,000 judgement, they
halve not freely produced basic records on the account, but they halve in no
way maid a settlement offer off even 1 dollar.

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Counts/Claims

Count 1
Failure to contact Plaintiff before starting Collection Suite.

22 Plaintiff incorporates the above allegations buy reference.

23 Rights and/or laws that | believe were violated.

a. Asa minimum, | believe the Defendant was Negligent in starting the
collection suite in Bozeman District without contacting the plaintiff to
discuss the issue off the outstanding debt. The law suite was started
without notice or contact after the Bank had been sent a letter a year
and a half earlier, and became un-responsive.

b. | further believe that the Defendant intentionally started the
collection suite, with the express intent on causing the Plaintiff harm.
That they started it knowing their was a counterclaim, and intentionally
did not contact the Plaintiff before proceeding in court. | believe they
started this suite with the intention off entering a Judgment and then
amusing them selves buy ordering leaving agents to pick clean the
defendants silverware.

c. | believe this behavior was to the level that it also probably broke
several criminal laws. In that it was intended to cause physiological if
not bodily harm. And that the lawyers would halve to legally consider
any counter claim, before filling a debt collection suite on a Pro Se
defendant.

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24. Dates and Times involved with this claim.

a. In approximately September of 2015, their was a nock on the
plaintiffs door. | was handed a summons to the Bozeman district
collection suite.

b. I disclosed a counterclaim dated 9/8/2015. It was quickly dismissed
due to improper ex parte communication. This left only the
collection part off the claim in-front off the district Judge.

c. The Plaintiff was forced at great stress and harm to myself an to
immediate family members to satisfy the Judgement, with a check
dated Feb 8, 2017.

d. Even though the outstanding balance was paid, Bank Of America is
still appearing on my credit report as off this month, and caused
several companies to deny me credit at a favorable rate to re-finance
an auto loan.

25. Supporting Facts

a. The defendant was asked Via a motion dated 12/17/2015, Exhibit 7
to inform/alert “Highly Criminal Behavior” surrounding the starting of
an the intent off this suite. It went un-responded to. It did generate
a police contact from Charlotte Security.

b. A motion dated 2/5/2016 to “Establish Facts” Exhibit 9 clearly stated
that the plaintiff was in no way notified or contacted prior to the
service off this suite. In also stated that the Bank had been sent a
letter dated 12/18/2013, Exhibit 1. This was not disagreed with or
responded to either.

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c. Aletter was retrieved buy a request for production. It had been sent
to the bank legal department complaining about serious problems
with the account and stating that | though the Personal injury claim
from the banks actions far exceeded the Balance on the Card. This
letter went un-responded to. And their was not contact until the
nock on the door.

d. Their was a request for production of documents served dated
6/20/2016, Exhibit 11. Items 7, a request to produce the results of
the 12/17 motion for Criminal Behavior , and Item 9, a request for
communications and records on how the suite got started was not
voluntarily complied with. Both Items found responsive documents
in existence.

e. Askip trace was returned from a subpoena at the Baxter Post office.
It requested the physical address of my Big Sky PO Box. Ina letter in
response to a complaint with the Fair Debt Collection act people.
Rausch and Sturm state that they sent a letter date June 5 2015,
Exhibit 27. They stated that an actual copy off their 30 letter was
included with this response, it was not. The Skip Trace from the
Baxter Post Office was also dated June 5, 2015, Exhibit 28. The Big
Sky post office provided my physical address to Rausch and Sturm. |
think this clearly shows that the Law Firm intended to start
aggressive in court collection proceeding without even contacting
me, offering a Payment plan or even discussing the counter claim
letter that was sent to the Bank a year and half earlier and had gone
un-responded to.

26 Bank of America and Rasch and Stern were involved with this count.

27. Injuries

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Their was serious emotional stress and physically quit a bit off time | had to
invest in dealing with this issue. It was quit obvious that the defendant
intended to levy the plaintiff as soon as the Judgement hit the docket.
Their were several deliberate errors in starting the suite and in the
dismissal that might halve been handled better had an experienced
attorney that understood civil procedure bin available. This further
created stress, and required a further investment off the Plaintiffs time.
The defendant was directly responsible for the plaintiff inability to pay the
outstanding balance. Due to the defendants actions, | do not believe it is
possible for the Plaintiff to return to a normal carrier that he enjoyed
before these event took place.

28. Requested relief.

For the time, pain, stress, of halving to deal with the collection suite and
the counterclaim. To be made whole, and to be able to proceeded
forward with a reasonable standard off life, | am asking for 2,500,000
shares of BAC for actual damages. | also believe that above and beyond
this, punitive damages are appropriate in this count.

Count 2
Causing the phone to ring un-controllably

29. Plaintiff incorporates the above allegations buy reference.

30. Rights or Laws that were violated.

a. I believe as a minimum the Bank is Negligent if they felt they need to do
discuss issues surround the card, a delinquent balance etc, they had a
duty to do this in non harassing or in way that would not inflict physical,
emotion or physiologic harm. | was contacted over 24 times in a 2 and
a half month period. When finally asked for legal address and sent a
letter to the banks lawyers, it went un-responded to.

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b. | believe the bank made these harassing calls with the intent of
knowingly causing harm. These calls occurred at the same time as at
least two other banks call centers contacted the plaintiff with the same
or greater frequency.

c. | believe that in this particular case, the frequency and behavior off
calls from the Banks Call Centers rose to the level violating criminal
statutes. That they did this with the intent of causing harm to the
Plaintiff.

31. Approximate dates the issues occurred.

a. At about the end of 2013, after systemic problems with fraud,
improper access, and harassing calls to manipulate the credit line, the
Bank Call Centers started a persistent an very aggressive harassment
campaign. | was contact over 24 time in a two and a half month period,

Exhibit 29.

b. At the same approximate time, | was getting similar calls from several
other card companies, including Citi, and JP Morgan.

32. Supporting Facts.

a. | finally got annoyed and asked the call center for an address that the
Bank Lawyers familiar with the card unit could be reached. | sent the
letter dated 12-13-2013. Among the complaints it stated the bank
contacted me repeatedly and that | thought their was a civil claims much
greater than the out standing balance.

b. A Request for Production of Documents dated 6/20/2016 was served to
the Banks Counsel. Under Montana State Civil Procedure, all that is

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required is an open case. Discovery does not need to be specifically
scheduled. The Defendant responded with a document dated 6-26-
2016. They did not provide a complete record off all phone contacts,
but they did provided a piece of the call logs. It showed the Bank
contacted the Plaintiff at least 24 time in a 2 and half month period
around the end of 2013, Exhibit 29.

c. Even though at this point, the past due balance was paid by a check
dated 2-8-2017 that satisfied the Judgment entered in Bozeman district,
the card still appears on a credit report dated 10-16-2018 as in
collection and has caused several lenders not to offer me credit at
favorable rates.

33.

This claim involved the Bank Of America. This is all that is covered in this
suite, but Chase cards as well as city were also involved at making
harassing phone calls at the same time .

34, Injuries.

it was quite clear that the Bank after being a cause off the problem,
intended to collect aggressively, you might say criminally. This created
physiological stress to a point that it caused physical harm and damage to
my general health. It was also quite clear, that | would halve to deal with
this at own devices. Investing further my own time. Due to the amount
off stress, my age, my current health, | do not believe that it is possible
to return to a normal profession as | did before these incidences involving

the Bank occurred.

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35. Requested relief.

For the time, pain, stress, created buy the calls. To be made whole, and to
be able to proceeded forward with a reasonable standard off life, |am
asking for 2,500,000 shares of BAC for actual damages. | also believe that
above and beyond this, punitive damages are appropriate in this count.

Count 3

Failure to produce records regarding Fraud and security
breaches surrounding the account.

36. Plaintiff incorporates the above allegations buy reference.

37. Rights or Laws that were violated.

a. | was Bank Card Customer. Asa minimum, if asked you would expect
the Bank to be able to provide specific records regarding the account.
This as a minimum make them Negligent.

b. In aresponse to a request for production when in court. The Bank still
did not voluntarily provide the requested records. They knowingly and
willfully refused to furnish the details off the fraud and other requested
records surrounding the account.

38. Dates and Approximate time surrounding the claim.

a. The Bank of America card had systemic fraud problems. Their were also
some notable security violations. Item 5 in the request for production
sighted two specific incidents Item’s 7 and 8 in the counterclaims, and
requested the detailed records as well as any other records off fraud

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and disputed charges that was on the account. The Request for
production was dated 6/20/2016, Exhibit 11.

b. Their was a successful attempt that gained access to my online account
in the mid 2000 while | was working in New York City. My password
kept changing. | had to use the challenge question to get into the
account. Oncein, the email address off the owner had been changed
from my msn account to a Syrian email address. | check my credit
report, their was an attempt to gain an authorization at a Texas Ford
Dealership which was un-successful. They were not able to purchase a
vehicle.

c. The second event was | had a nocked down drag out fit with a Bank Of
America Supervisor. | had gotten a re-occurrent charge. | had stopped
it and it started again. They company was very deceptive in that it sent
me numerous emails, and re-started it without my consent. |
convinced a Bank Of America supervisor to remove the charge, and |
think she shut down their companies ability to submit credit card
charges electronically into the Visa Payment System. A short time later,
a charge for an air line ticket in a completely different name, flying out
off Las Vegas McCarran to a third world country appeared on one off my
cards, and | hit a Henderson emergency room at 4 in morning,
vomiting, unable to stand slurred speech. _| halve not work
professionally since shortly after this incident.

39. Supporting Facts

a. Details of the above incidences and a record off all fraud on the account
was requested in Item 5 of the request for documents.

b. Even when formally requested while in court, the Bank did not
voluntarily comply with the request. They stated they feel that this

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request seeks confidential and competitively sensitive informatization.
See Exhibit 12, their response.

This count involves Bank Of America. Note, that buy not releasing these
records, in timely manner, the halve prevented knowing the true facts off
a potential claim. | would liken this to their being records off a police or
FBI investigation and then law enforcement not furnishing the detailed
records to you or your attorney. At this point, the Bank has assumed the
Civil liability.

41. Injuries

a. This is a court of law, and in the civil process, the entity that does the

harm or causes the damage is financially responsible. You can process
serve of sue civilly just about anything. But gain a judgment or start
suite you would specific and detailed evidence. When the back
consistently refused to furnish the details off these events, it makes it
impossible to proceeded against the guilty party. | would liken this to
contacting the police for a report ona fatal car accident and then
halving them refuse to furnish it. This would prevent the victim from
pursuing a normal civil process. And it would also hamper even the
basic task of retaining counsel because you halve nothing to show
them.

. Since the incident in Henderson, the Plaintiff has really not been able

to work in his profession. The Bank has still not produced the records,
and | submit that this has really harmed me and that at this point they
halve assumed the liability off this issue for failure to behave as
expected and simply produce the records from the account.

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42. Requested relief.

For the time, pain, stress, created buy the event that were mentioned.
Taking into account that the Plaintiff has not worked since the 2011
medical event in Henderson, for which the Banks Card played a major role.
To be made whole, and to be able to proceeded forward with a reasonable
standard off life, | am asking for 3,000,000 shares of BAC for actual
damages.

Count 4.
Improper Access to the credit card charges.

43. Rights or Laws that were violated.

a. ASa minimum, you would expect the bank to respect and protect a card
members privacy, and not disseminate or access card holder data in an
inappropriate manner that violates the customers privacy.

b. | believe the Bank knowingly did this, and used the data and acted in
such a manner that they knew it was intended to cause the customer
harm.

c. | believe that this is also a breech of the card holder agreement and the
privacy policy and their for a breech of contract.

d. | believe that this also constitutes conducting warrantless surveillance
on a US Citizen on us soil.

44. Dates and Approximate time surrounding the claim.

a. This was complained about in the 12-18-2013 letter, Exhibit 1 and the
counterclaim dated 9/8/2015. This type off issue rely is kind of

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45.

46.

47.

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invisible. It can be done a number off ways, including buy a third party
if the data is being legally exported. Through computer hacks, or
improper access from internal employees.

b. Even evidence existence that shed some light on this issue, was not
know until the response to the request for documents dated July 26
2016.

c. Note, even though now paid, the Bank Card still appears on my credit
report as under collection, and prevented the plaintiff from be offered
an auto refinancing loan at a favorable rate as late as Oct of 2018. See
Exhibit 22.

Supporting Facts

IN the response to the request for documents, Exhibit 12, the bank did
state they made a reasonable attempt to look into the account and
weather there were any down stream access buy law enforcement or
military intelligence, and weather their was any court ordered access.
These they felt their was no evidence to support these items. But they
refused to respond voluntarily to Item 3. The Date and Times of any Bank
Employee viewing the charges internally.

This count involves the Bank Of America.
Injuries

a. Federal Law enforcement, uses credit card data to track and apprehend
fugitives. You halve the right to remain silent, but the one thing you do
halve to do is identify your self to a law enforcement officer. So, if you
can find the location off a person with an arrestable warrant, you can
walk right up, ask them to identify them selves and scurry them off to

jail.

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b. The Plaintiff has never been arrested, but their were multiple issue of
strange health problems, and also either employees or patrons that
frequent the same venues being contacted or told to observe the
Plaintiff.

c. It is unclear exactly what the data was used for, or who it was furnished
to, but their halve been 4 to fives issues of foreign substances, mikes,
ralfess served in local restraints where the plaintiff was know to eat.

d. Their were also several! other obvious incident’s where the plaintiff was
contacted buy a fire arms dealer in another state several weeks after
purchasing a riffle. The contact was obviously inappropriate. It was
not done buy federal law enforcement. The way the exact dealer was
located was from viewing credit charges.

e. Quite a bit off this can be traced back to improper access and viewing
off real time credit card charges in the Banks Computer.

48. Requested relief.

For the time, pain, stress, created buy the event that were mentioned.
Taking into account that the Plaintiff has not worked since the 2011
medical event in Henderson, for which the Banks Card played a major role.
To be made whole, and to be able to proceeded forward with a reasonable
standard off life, | am asking for 3,000,000 shares of BAC for actual
damages, for this count. Since the particular facts off this count show that
the data probably was not obtained through an outside hack, but rather
the banks employees accessing the data, and either using it or providing it
to third party, | believe this was an intentional and deliberate violation off
the Plaintiff right to privacy, and their for potentially subject to Punitive
damages.

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Background on Plaintiffs previous Military Service and
Executed Contractual Agreements.

As stated in the previous court case in Butte, it is my understanding that
the Plaintiff is mechanically failing some kind off civil background check. This was
clearly stated in the Butte complaint, and nothing was presented to the court and
a Conversion to summary judgment under 12d was not requested for the issues
covered in this suite. Nothing regarding this issues has changed. | believe | am
still mechanically failing this check, but nothing new has changed that would
cause the issue to be revisited. | am in the process off attempting to get the bad
data point removed. |amnotan attorney, they are very vague as to the actual
vendor off this system, what is exactly in the database or how you would actually
go about getting a bad piece of data removed. But! am unaware off any reason
this suite cannot continue. And as you see, once this is stated, there is no longer
any calls to the court house deputy, and there is no mention or attempt to the
court what ever this magic database puts in front off the General Counsels face.

David Steven Braun

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